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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

O. JOHN BENISEK, et 31., *
*
Plaillfiffs,
'k
V. CIVIL NO. JKB-13-3233
*
LINDA H. LAMONE, et al., *
Defendants. * "f;`
* * * * * * 'k il * it il *
ORDER

Now pending before this Three Judge Court is the Consent Motion to Stay (ECF
No. 226). The Plaintiffs have docketed their Statement of Conditional Consent to a
Discretionary Stay Pending Appeal (ECF No. 227).

Upon consideration of the Motion and Statement, the Motion is GRANTED IN PART.
'l`he Judgment (ECF No. 223) previously entered is STAYED until the United States Supreme
Court decides the appeal of this case or until the passage of the date of July l, 2019, Whichever
first occurs. Upon expiration of the stay, counsel shall jointly and immediately move to set in a
status conference, during which this Court will set new deadlines to execute the previously
entered Judgment (unless action of the Suprerne Court supersedes proceedings in this Court).

So ORDERED this _L‘L day of November, 2018.

For the Three Judge Court:

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Honorable Jarnes K. Bredar
Chief Judge

 

